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 1   DANIEL J. BRODERICK, Bar# 89424
     Federal Defender
 2   BENJAMIN D. GALLOWAY, Bar# 214897
     Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone (916) 498-5700

 5   Attorney for Defendant
     JORGE GUILLEN
 6
 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,      )
12                                  )    Cr.S. 10-0229-WBS
                  Plaintiff,        )
13                                  )    STIPULATION AND [PROPOSED]
             v.                     )    ORDER
14                                  )
     JORGE GUILLEN and JOSE         )    DATE: August 23, 2010
15   BRAVO,                         )    TIME: 8:30 a.m.
                                    )    JUDGE: Hon. William B. Shubb
16                Defendants.       )
                                    )
17   ____________________________
18
        It is hereby stipulated and agreed to between the United States of
19
     America through JASON HITT, Assistant U.S. Attorney, and defendant,
20
     JORGE GUILLEN by and through his counsel, BENJAMIN GALLOWAY, Assistant
21
     Federal Defender, and JOSE BRAVO, by and through his attorney, CLEMENTE
22
     JIMENEZ, that the status conference set for Monday, July 19, 2010, be
23
     continued to Monday, August 23, 2010, at 8:30 a.m..
24
        The reason for this continuance is to allow defense counsel
25
     additional time to review discovery with the defendant, to examine
26
     possible defenses and to continue investigating the facts of the case.
27
        Speedy trial time is to be excluded from the date of this order
28
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 1   through the date of the status conference set for August 23, 2010,
 2   pursuant to 18 U.S.C. §§ 3161 (h)(8)(B)(iv) [reasonable time to
 3   prepare] (Local Code T4).
 4
 5   DATED: July 15, 2010              Respectfully submitted,
 6                                     DANIEL J. BRODERICK
                                       Federal Defender
 7
                                       /s/ Benjamin Galloway
 8                                     BENJAMIN GALLOWAY
                                       Assistant Federal Defender
 9                                     Attorney for Defendant
                                       JORGE GUILLEN
10
11   DATED: July 15, 2010              Respectfully submitted,
12                                     /s/ Benjamin Galloway for
                                       CLEMENTE JIMENEZ
13                                     Attorney for Defendant
                                       JOSE BRAVO
14
15   DATED: July 15, 2010              BENJAMIN B. WAGNER
                                       United States Attorney
16
                                       /s/ Benjamin Galloway for
17                                     JASON HITT
                                       Assistant U.S. Attorney
18                                     Attorney for Plaintiff
19
                                       O R D E R
20
           IT IS SO ORDERED.    Time is excluded from today’s date through and
21
     including August 23, 2010, in the interests of justice pursuant to 18
22
     U.S.C. §3161(h)(8)(B)(iv) [reasonable time to prepare] and Local Code
23
     T4.    The status conference set for Monday, July 19, 2010, is continued
24
     to Monday, August 23, 2010, at 8:30 a.m.
25
     DATED:    July 16, 2010
26
27
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